         Case 1:17-cr-00106-CCB Document 217 Filed 11/17/17 Page 1 of 1

                               UNITED STATES DISTRICT COURT
                                       DISTRICT OF MARYLAND

     CHAMBERS OF                                                                  U.S. COURTHOUSE
  CATHERINE C. BLAKE                                                         101 WEST LOMBARD STREET
    DISTRICT JUDGE                                                          BALTIMORE, MARYLAND 21201
                                                                                     (410) 962-3220
                                                                                   Fax (410) 962-6836




                                                      November 16, 2017


MEMORANDUM TO COUNSEL

Re:    United States v. Daniel Hersl and Marcus Taylor, Criminal No. CCB-17-0106

Dear Counsel:

      This will confirm the results of our telephone conference call today with
government counsel and counsel for defendants Hersl and Taylor.

       A status report from the government is due December 8, 2017.

       The government’s response to defense motions is now due December 12, 2017.
A motions hearing is set for December 19, 2017 at 2:00 p.m. in Courtroom 7D. Counsel
should also hold the dates of December 18 and December 20, 2017, if needed, to
reschedule the motions hearing.

       Despite the informal nature of this letter, it is an Order of the Court and shall be
docketed as such.

                                                      Sincerely yours,

                                                              /S/

                                                      Catherine C. Blake
                                                      United States District Judge

cc:    Steve Levin, Esquire
